CASE: 20-01456                                           STATE vs MATTER UNDER INVESTIGATION
File Date: 03/05/2020                                    Close Date: OPEN                                Div: C
Defendant #1: DAREN IN RE: PARSA Class: 5                                                                DA Case Nbr: 0
ADDRESS
 Name:                  DAREN IN RE: PARSA
 Address:               C/O ATTORNEY AMANDA HASS 200 ST CHARLES AVE #114#101
                        NEW ORLEANS LA 70170
 Phone1:                5045172447
 Phone2:                                                                                     SID:
 SSN:                                                                                        DL:                                 LA
 DOB:                   01/01/2000                                                           CCN:
 Race/Sex:              U/U                                                                  B of I:

CHARGES

 Item NBR       Count     Statute         Type   Class   Description                                                  Charge   Disp DT    Disposition
 A1548920       1         MOTIONS         M      5       MOTIONS FILED BEFORE CHARGES ACCEPTED

MOTIONS

 By                     Motion                                                                                                        Disposition   Date
 Other                  Other motion; Joint Memorandum in Opposition to a Motion for Protection and Preservation
 Defense Attorney       Other motion; Motion for Protection and Preservation filed
 Defense Attorney       Motion to Seal;

MINUTE BOOK

      DocketDT ScheduleDT Clerk Description
      03/19/2020 03/19/2020 LWJ       Case active: MOTION HEARING
      03/17/2020 03/17/2020 SRH Motions: Motions Filed - , Joint Memorandum in Opposition to a Motion for Protection and Preservation
                                      Case active: COURT CLOSED DUE TO THE COVID- 19 EMERGENCY, MOTION FOR PROTECTION AND PRESERVATION
      03/17/2020 03/17/2020 LWJ
                                      WILL BE RE-SET, CLERK SPOKE TO ATTORNEY WILLIAM MOST BY PHONE.
                                      Case active: Motion For Protection And Preservation With Ex A (Return Service On Dr. Gerry Cvitanovich) (DOCUMENT
      03/13/2020 03/13/2020 DH1
                                      UNDER SEAL)
                                      Case active: Motion For Protection And Preservation With Exhibit A (Return Service On JPSO) (DOCUMENT UNDER
      03/10/2020 03/10/2020 DH1
                                      SEAL)
      03/05/2020 03/05/2020 HTS       Motions: Motions Filed (DOCUMENT UNDER SEAL)
      03/05/2020 03/05/2020 HTS       Motions: Motions Filed (DOCUMENT UNDER SEAL)
      03/05/2020 03/05/2020 Auto Docket minute: Documents associated with this case are available in digital and microphotographic format only.
      03/05/2020 03/05/2020 HTS       Docket minute: Case allotted - Class V Division C Judge June Berry Darensburg
      03/05/2020 03/05/2020 HTS       : Cnt 1 Item A1548920 RS MOTIONS
